 1   Theodore P. Witthoft (State Bar I.D. No. 021632)
     Sara R. Witthoft (State Bar I.D. No. 023521)
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 5   Email: switthoft@wdlawpc.com
 6   Attorneys for Trustee, David A. Birdsell
 7                           UNITED STATES BANKRUPTCY COURT
 8
                                      DISTRICT OF ARIZONA
 9
     In re:                                        )    Chapter 7
10                                                 )
                                                   )    Case No. 2:04-bk-16232-DPC
11                                                 )
     HAL C. CARRINGTON,
12                                                 )
                   Debtor.                         )    NOTICE OF LODGING PROPOSED
13                                                 )    ORDER APPROVING TRUSTEE’S
14                                                 )    MOTION: (1) TO APPROVE
                                                   )    SETTLEMENT PURSUANT TO
15                                                 )    BANKRUPTCY RULE 9019(a); AND
16                                                 )    (2) TO AUTHORIZE PAYMENT OF
                                                   )    ATTORNEY FEES AND COSTS OF
17                                                 )    SPECIAL COUNSEL
18                                                 )
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19                                                 )
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                                                   )
21                                                 )
22
              NOTICE IS HEREBY GIVEN, pursuant to Local Bankruptcy Rule 9022-1(b), that the
23
     chapter 7 trustee, David A. Birdsell, by and through his undersigned counsel, has lodged with
24
     the Court his form of Order Approving Trustee’s Motion: (1) To Approve the Settlement of
25
     Claim, Pursuant to Bankruptcy Rule 9019; and (2) To Authorize Payment of Special Counsel
26




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 1   Fees and Costs (“Order”). The form of Order is attached hereto and incorporated herein by this
 2   reference.
 3         Respectfully submitted.           WITTHOFT DERKSEN, P.C.

 4
                                             By:/s/ Sara R. Witthoft          #023521
 5
                                                Theodore P. Witthoft
 6                                              Sara R. Witthoft
                                                Attorneys for David A. Birdsell, Trustee
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     Theodore P. Witthoft (State Bar I.D. No. 021632)
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 5
     Attorneys for Trustee, David A. Birdsell
 6
 7                               UNITED STATES BANKRUPTCY COURT
 8                                      DISTRICT OF ARIZONA
 9   In re:                                      ) Chapter 7
                                                 )
10                                               ) Case No. 2:04-bk-16232-DPC
11   HAL C. CARRINGTON,                          )
                                                 ) ORDER APPROVING TRUSTEE’S
12                                               ) MOTION:
13                                               )
                       Debtor.                   ) (1) TO APPROVE SETTLEMENT
14                                               ) PURSUANT TO BANKRUPTCY
15                                               ) RULE 9019(a); AND
                                                 )
16                                               ) (2) TO AUTHORIZE PAYMENT OF
                                                 ) ATTORNEY FEES AND COSTS OF
17
                                                 ) SPECIAL COUNSEL
18                                               )
19
20            This matter having come before the Court on the Trustee’s Motion: (1) To Approve
21   Settlement Pursuant to Bankruptcy Rule 9019; and (2) To Authorize Payment of Special Counsel
22   Fees and Costs (“Motion”) filed by the Chapter 7 trustee, David A. Birdsell (“Trustee”), by and
23   through his attorneys, Witthoft Derksen, P.C., on September 20, 2017 at Docket No. 42; the
24   Motion having been properly noticed as evidenced by the Certificate of Mailing on file with the
25   Court at Docket No. 44; there having been no objection to the Motion filed with the Court; and
26   good cause appearing therefor,



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 1          IT IS HEREBY ORDERED as follows:
 2          A.        The settlement described in the Motion shall be, and hereby is, granted and
 3   approved in all respects, for the gross settlement allocation amount of $139,776.55 (“Gross
 4   Settlement Award”) with respect to the Claim (as defined in the Motion) is in the best interests
 5   of the estate.
 6          B.        $14,816.31 (the “Mandatory Deduction”) shall be withheld from the Gross
 7   Settlement Award for the MDL Fee (as described in the Motion). The Settlement Fund Trustee
 8   (as defined and provided for in the Motion) shall pay the $14,816.31 MDL Fee to the applicable
 9   MDL fund.
10          C.        $750.00 shall be withheld from the Gross Settlement Award by the Settlement
11   Fund Trustee to pay the Lien Resolution Fee to Garretson Resolution Group.
12          D.        $47,989.94 of the Gross Settlement Award shall be held back in trust as a
13   mandatory lien holdback (“Lien Holdback”) until any medical liens held by insurance
14   companies and/or Medicare are finalized. Once the medical liens are finalized, the amount of
15   the liens, if any, shall be paid by the Settlement Fund Trustee from the Lien Holdback. The
16   balance of the Lien Holdback, after payment of the liens, if any, shall be paid to the Trustee for
17   the benefit of the bankruptcy estate.
18          E.        Upon the terms of the Settlement being satisfied, the balance of the settlement
19   proceeds, anticipated to be $76,220.30 (the “Settlement Funds”), inclusive of Special Counsel’s
20   fees of $33,346.06 and expenses of $2,924.68, calculated after deduction of Special Counsel’s
21   share of the MDL Fee and Lien Resolution Fee (as defined in the Motion), shall be paid by the
22   Settlement Fund Trustee to the Trustee in the form of a check in good funds made payable to
23   “David A. Birdsell, Trustee” and delivered to Witthoft Derksen, P.C., c/o Theodore P. Witthoft,
24   3550 N. Central Ave., Ste. 1006, Phoenix, Arizona 85012. From the Settlement Funds, the
25   Trustee shall be responsible for paying Special Counsel its fees and expenses in accordance with
26   the terms of the Motion.



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 1          F.     The Gross Settlement Award is unencumbered property of the bankruptcy estate,
 2   pursuant to 11 U.S.C. § 541, free and clear of all liens, claims and interests, except for the
 3   Mandatory Deduction and any other deductions or expenses required to be paid and/or withheld
 4   from the settlement by the Settlement Fund Trustee under the terms of the settlement documents
 5   (which required deduction includes attorney fees and costs). The Trustee, on behalf of itself and
 6   the bankruptcy estate, and the Debtor are authorized to enter into, execute and deliver any and
 7   all release documentation required by defendants and any other documents or instruments, if
 8   any, necessary or appropriate in order to effectuate the release of claims (the “Release”), and
 9   that upon the Release becoming effective in accordance with its terms, all persons and entities,
10   including, without limitation, the Trustee, the bankruptcy estate, the Debtor, and any person or
11   entity claiming, or who could claim, by, through or on behalf of the Trustee, the bankruptcy
12   estate or the Debtor, shall be and hereby are deemed to have released all claims and are
13   permanently enjoined from asserting or prosecuting any claims related to arising from the
14   Claim. Upon entry of this Order, the Trustee, the bankruptcy estate, the Debtor or anyone
15   making claims by, through and/or on behalf of the Trustee, the bankruptcy estate or the Debtor,
16   shall be and hereby are deemed to have released all claims or causes of action relating to or
17   arising from the Claim, whenever arising, known or unknown.
18          G.     Fees in the amount of $45,366.84 and expenses in the amount of $3,674.68 are
19   hereby allowed for Special Counsel.
20          H.     The Trustee is authorized to and shall pay Special Counsel’s fees in the amount of
21   $33,346.06 (calculated after deduction of Special Counsel’s share of the MDL Fee) and Special
22   Counsel’s costs in the amount of $2,924.68 (calculated after deduction of the Lien Resolution
23   Fee) from the Settlement Funds received by the Trustee on behalf of the estate, provided
24   payment will not prejudice claimants of equal or higher priority.
25          I.     This Order shall be, and hereby is, deemed a final order.
26
            DATED AND SIGNED ABOVE.



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